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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BROOKE LEITNER,                                                       Case No.: 1:20-cv-06220

                                    Plaintiff,

              - against -                                             STIPULATION OF
                                                                      DISCONTINUANCE
TRADER JOE’S EAST INC. d/b/a “TRADER
JOE’S”, TAYLOR FARMS RETAIL, INC.,
TAYLOR FRESH FOODS, INC., and
JOHN DOES 1 through 10,

                                  Defendants.




        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the attorneys

of record for all of the parties in the above-entitled action, that whereas no party hereto is an incompetent

person for whom a committee has been appointed and no person not a party has an interest in the subject

matter of the action, the above-entitled action be and the same hereby is discontinued as to TRADER

JOE’S EAST INC. d/b/a “TRADER JOE’S”, TAYLOR FARMS RETAIL, INC., and TAYLOR

FRESH FOODS, INC., with prejudice, without costs to either party as against the other.

        This stipulation may be filed without further notice with the Clerk of the Court.

Dated: New York, New York
       November 18, 2021

    THE JACOB D. FUCHSBERG LAW                                DAVIS WRIGHT TREMAINE LLP
    FIRM, LLP


    ________________________                                  ________________________
    By: Eli A. Fuchsberg, Esq.                                By: Andrew McStay, Jr.
    Attorneys for Plaintiff                                   Attorneys for Defendants
    BROOKE LEITNER                                            TRADER JOE’S EAST INC. d/b/a “TRADER
    3 Park Avenue, Suite 3700                                 JOE’S”, TAYLOR FARMS RETAIL, INC., and
    New York, NY 10016                                        TAYLOR FRESH FOODS, INC.
                                                              1300 SW Fifth Avenue, Suite 2400
                                                              Portland, OR 97201
